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UNITED STATES DISTRICT COURT                       DOC#: ---;;::::1--:--.-_ _
SOUTHERN DISTRICT OF NEW YORK
                                                      DlffF   rn ED:
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UNITED STATES OF AMERICA
                                                     15-CR-287 (JSR)
             -v-
                                                         ORDER                '.
SEAN STEWART,
                                                                         \,
      Defendant.                                                         1·
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JED S. RAKOFF, U.S.D.J.

         Pursuant to the in-c6urt conference held on May 14, 2019, the Court

hereby sets the following deadlines in this case: defense production of

Federal Rule of Criminal Procedure 16(b) reciprocal discovery by June 17,.

2019; written notification to the Court by0une 17, 2019, of any intention

by either side to call an expert witness (with a schedule for expert

discovery to be set by the Court at that time if necessary); Federal Rule

of Evidence 404(b) notice by July 12,_2019; motions in limine by July 26,

2019 and responses by August 9, 2019 (with no reply or oral argument

unless otherwise advised); Government production of its trial exhibits by

July 29, 2019 and defense production of its trial exhibits by August 26,

2019; requests to charge, proposed voir dire questions, and proposed

verdict sheet by August 8, 2019, with any objections by August 15, 2019;

3500 and Giglio materials for Government witnesses by August 12, 2019; and

26.2 materials for defense witnesses by August 26, 2019.

      SO ORDERED

Dated:
      New York, NY
      May   ({O,   2019                          JED S. RAKOFF, U.S.D.J.



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